     Case 8:22-cv-01421-CJC-ADS Document 61 Filed 03/20/23 Page 1 of 2 Page ID #:2063




1

2

3

4

5

6

7

8                            UNITED; STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                    SOUTHERN DIVISION
11                                   )
       LANCE BOLAND, MARIO           ) Case No.: SACV 22-01421-CJC (ADSx)
12                                   )
       SANTELLAN, RENO MAY, JEROME )
13     SCHAMMEL, and CALIFORNIA      )
       RIFLE & PISTOL ASSOCIATION,   )
14                                   )
       INCORPORATED,                 ) PRELIMINARY INJUNCTION
15                                   )
                                     )
16              Plaintiffs,          )
                                     )
17         v.                        )
                                     )
18                                   )
       ROBERT BONTA, IN HIS OFFICIAL )
19     CAPACITY AS ATTORNEY          )
       GENERAL OF THE STATE OF       )
20                                   )
       CALIFORNIA, AND DOES 1-10,    )
21                                   )
                                     )
22              Defendant.           )
                                     )
23

24

25           This matter came before the Court on Plaintiffs’ Motion for a Preliminary
26     Injunction. (Dkt. 23.) On March 20, 2023, the Court issued an Order determining that
27     the California Unsafe Handgun Act’s provisions requiring certain handguns to have a
28     chamber load indicator, a magazine disconnect mechanism, and microstamping capability
                                                  -1-
     Case 8:22-cv-01421-CJC-ADS Document 61 Filed 03/20/23 Page 2 of 2 Page ID #:2064




1      are unconstitutional. Cal. Penal Code §§ 31910(b)(4)–(6). The Court granted a
2      preliminary injunction enjoining enforcement of those provisions.
3

4            NOW, THEREFORE, IT IS HEREBY ORDERED that Defendant Attorney
5      General Robert Bonta, and his officers, agents, servants, employees, and attorneys, and
6      those persons in active concert or participation with him, and those duly sworn state
7      peace officers and federal law enforcement officers who gain knowledge of this
8      injunction order or know the existence of this injunction order, ARE HEREBY
9      PRELIMINARILY RESTRAINED AND ENJOINED from implementing or
10     enforcing California Penal Code sections 31910(b)(4)–(6), or from otherwise preventing
11     the retail sale of handguns that do not have a chamber load indicator, a magazine
12     disconnect mechanism, or microstamping capability but that meet the other requirements
13     of the Unsafe Handgun Act.
14

15           This preliminary injunction shall not take effect until fourteen days from the date
16     hereof to allow the government to file an appeal and seek a further stay of this
17     preliminary injunction.
18

19           DATED:       March 20, 2023
20                                                   __________________________________
21                                                         CORMAC J. CARNEY
22                                                   UNITED STATES DISTRICT JUDGE
23

24

25

26

27

28

                                                    -2-
